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 6                            IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,                              CASE NO. CR F 06-0284 LJO
10
                            Plaintiff,                      ORDER ON MOTIONS TO REDUCE
11                                                          SENTENCE
             vs.
12                                                          (Docs. 233, 238, 244.)
     WALTER ORR,
13
                            Defendants.
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16                                            INTRODUCTION
17         Defendant Walter Orr (“defendant”) seeks to reduce his sentence pursuant to 18 U.S.C. §
18 3582(c)(2) (“section 3582(c)(2)”) based on retroactive application of a recent amendment to the U.S.
19 Sentencing Guidelines (“USSG”) to reduce sentences for cocaine base (“crack”) offenses. The United
20 States of America (“Government”) responds that the USSG amendment is inapplicable to defendant
21 because defendant’s sentence was not based on crack. This Court considered defendant’s sentence
22 reduction motion on the record and DENIES defendant a sentence reduction and related relief in that
23 defendant is ineligible for section 3582(c)(2) relief.
24                                             BACKGROUND
25         Defendant entered into a March 19, 2007 plea agreement to plead guilty to conspiracy to
26 distribute, and possess with the intent to distribute, cocaine and crack. In his plea agreement, defendant
27 admitted that “the conspiracy involved five kilograms or more of cocaine” and stipulated that “the drug
28 quantity attributable to defendant Orr is a minimum of six kilograms of a mixture or substance containing

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 1 cocaine.” The plea agreement’s factual basis noted: “Defendant Orr’s actions in the course of the
 2 conspiracy involved a minimum of six kilograms of cocaine.”
 3         The presentence report calculated defendant’s sentence based on six kilograms of cocaine, not
 4 crack. Pursuant to USSG § 2D1.1(c)(4), defendant’s base offense level is 32 because the offense to which
 5 defendant pled involved at least five kilograms but less than 15 kilograms of cocaine. The former district
 6 judge sentenced defendant to 120 months, pursuant to the statutory mandatory minimum term for offenses
 7 involving no less than five kilograms of cocaine.
 8                                              DISCUSSION
 9         “As a general matter, courts may not alter a term of imprisonment once it has been imposed.”
10 United States v. Hicks, 472 F.3d 1167, 1169 (9th Cir. 2007). Section 3582(c)(2) creates an exception to
11 modify a prison term if: (1) the sentence is “based on a sentencing range that has subsequently been
12 lowered by the Sentencing Commission”; and (2) “such a reduction is consistent with applicable policy
13 statements issued by the Sentencing Commission.” United States v. Wesson, 583 F.3d 728, 730 (9th Cir.
14 2009) (quoting section 3582(c)(2)).
15         USSG § 1B1.10 addresses prison term reduction as a result of an amended guideline range and
16 excludes a reduction under section 3582(c)(2) if “an amendment listed in subsection (c) does not have
17 the effect of lowering the defendant’s applicable guideline range.”
18         Defendant relies on Part A of Amendment 750, which altered offense levels in USSG § 2D1.1
19 applicable to crack cocaine offenses and which the Sentencing Commission added to USSG § 1B1.10(c)
20 as a retroactive amendment. The Sentencing Commission lowered such offense levels under the Fair
21 Sentencing Act of 2010, which changed the threshold quantities of crack cocaine to trigger mandatory
22 sentences under 21 U.S.C. § 841(b).
23         The Government correctly notes that defendant’s sentence did not involve crack and was not
24 pursuant to portions of USSG § 2D1.1 altered by Amendment 750. In the absence of a change to
25 applicable cocaine guidelines, a sentence reduction would be inconsistent with applicable policy
26 statements issued by the Sentencing Commission. Amendment 750 and all other amendments listed in
27 USSG § 1B1.10(c) are inapplicable to defendant. Defendant is not eligible for a sentence reduction in
28 that his applicable guideline range remains unchanged.

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 1                                     CONCLUSION AND ORDER
 2           For the reasons discussed above, this Court DENIES defendant a sentence reduction and related
 3 relief.
 4           IT IS SO ORDERED.
 5 Dated:       November 16, 2011                   /s/ Lawrence J. O'Neill
   66h44d                                       UNITED STATES DISTRICT JUDGE
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